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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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                                          Case No.: 2:20-cv-05329-DDP-AFM
11 EVE CHAMPAGNE JUNN,
       Plaintiff
12                                        ORDER FOR DISMISSAL WITH
13                                        PREJUDICE
         v.
14
   SOUTH PASADENA UNIFIED
15 SCHOOL DISTRICT; GEOFF
16 YANTZ, ED.D., KAREN REED,
17 JANET ANDERSON, ANTHONY
   CHAN, FRANCISCO LOPEZ,
18 JULIAN ESPADES, in their official
19 capacities.
20         Defendants

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        JOINT STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
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  Case 2:20-cv-05329-DDP-AFM Document 42 Filed 11/30/21 Page 2 of 3 Page ID #:177




 1         The parties to this action, acting through counsel, and pursuant to Federal Rule of
 2 Civil Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated
 3 settlement executed by them, to the Dismissal With Prejudice of this action, including all
 4 claims and counterclaims stated herein against all parties, with each party to bear its own
 5 attorney’s fees and cost.
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                                                   HATHAWAY PARKER
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 8
 9 Dated: November 30, 2021                  By:      /s/ Mark Hathaway                     .
                                                   MARK M. HATHAWAY
10
                                                   JENNA E. PARKER
11                                                 Attorneys for Petitioner
12                                                 EVE CHAMPAGNE JUNN

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14                                                 MCCUNE & HARBER LLP
15
16
     Dated: November 15, 2021                By:      /s/ Joshua A. Kuns          .
17                                                 JOSHUA KUNS
18                                                 Attorneys for Defendants SOUTH
                                                   PASADENA UNIFIED SCHOOL
19                                                 DISTRICT; GEOFF YANTZ, ED.D.,
20                                                 KAREN REED, JANET ANDERSON,
21                                                 ANTHONY CHAN

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           **Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other signatories
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     listed, and on whose behalf the filing is submitted, concur in the filing’s content and have
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     authorized the filing.
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          JOINT STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
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  Case 2:20-cv-05329-DDP-AFM Document 42 Filed 11/30/21 Page 3 of 3 Page ID #:178




 1                                           ORDER
 2        The stipulation is approved. The entire action, including all claims and
 3 counterclaims stated herein against all parties, is hereby dismissed with prejudice.
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 5
 6
 7 Dated: November 30, 2021                                                     .
                                           Hon. Dean D. Pregerson
 8                                         United States District Court
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         JOINT STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
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